Case 1:04-cv-01336-.]DT-STA Document 14 Filed 07/14/05 Page 1 of 2 Page|D 14

 

 

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_ JUL l 4 2005
Unlted States Dlstnct Court »»Wg.qm,a,,k
WESTERN DISTRICT oF TENNESSEE w. a ap¥li",“i§§~“§‘m
Eastern Division
LYNETTA SHEPHERD JUDGMENT |N A ClV|L CASE

V.

JO ANNE B. BARNHART,
Commissioner of Social Security CASE NU|V|BER: 04-‘| 336-T

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

|T |S ORDERED AND ADJUDGED that in compliance with the order entered in

the above-styled matter on 07/14/05, the decision of the Commissioner is AFF|R|V|ED
and this case is hereby D|S|V|ISSED.

APPROVED:

AQj/mem M

S D. TODD
TED STATES DISTRICT JUDGE

THOMAS M. GOULD
CLERK

viiN/O§ / BY: `~M

DATE' DEPUTY CLERK

This document entered on the docket sheet in compliance

with Ruie 58 and/or 79(3) FRcP on Q?'}B’ ‘05 . @
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Honorable J ames Todd
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